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                                                 July 29, 2022

Via ECF
Hon. Daniel J. Stewart
United States Magistrate Judge
Northern District of New York
James T. Foley U.S. Courthouse
445 Broadway -4* Floor
Albany, New York 12207

       RE:     Cellco Partnership, et al v. Town ofSaugerties et al.
               Civil Action: 1:22-CV-107


Dear Judge Stewart:

       This office represents Plaintiffs Cellco Partnership d/b/a Verizon Wireless and Tarpon
Towers II, LLC in the above referenced matter.

        1 write to provide the Court with an update as to the status of this matter pursuant to the
Uniform Pretrial Scheduling Order. Since the Preliminary Conference held in early May, the
parties have had several conversations regarding the potential for settling this matter. Although
agreement on a potential settlement has not been reached, the parties are currently exploring a
potential settlement involving the use of property owned by the Mt. Marion Fire Department in
the Town of Saugerties. We will advise the Court if the parties are able to reach a settlement.

       Thank you for your consideration with respect to this matter.

                                                 Very truly yours,
                                                 YOUNG/SOMMLR LLC




                                                 Scott Olson



cc:    All parties (via LCF)
